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          UNITED STATES DISTRICT COURT FOR THE DISTRICT OF KANSAS


JEFFREY J. SPERRY,         )
     Plaintiff             )
                           )
         v.                )                                 Case No. 16-CV-3222-JAR
                           )
LINDSEY WILDERMUTH, et al. )
     Defendants            )                 /


                   PLAINTIFF’S RESPONSE OPPOSING DEFENDANTS’
                   SUCCESSIVE MOTION FOR SUMMARY JUDGMENT


        COMES NOW, JEFFREY J. SPERRY, plaintiff pro se, and hereby submits his response

opposing defendants’ successive motion for summary judgment. In support of this response,

plaintiff states as follows:

                               Opposition to Defendants’ Material Facts

1.      Plaintiff Jeffrey Sperry is an inmate in the custody of the Kansas Department of

        Corrections, has been at all relevant times, and is currently housed at the Lansing

        Correctional Facility, P.O. Box 2, Lansing, KS 66043.

2.      On September 23, 2015, Plaintiff was issued a disciplinary report (d.r.) for contraband

        and taken to segregation for prehearing detention.

3.      Plaintiff did plead no-contest to the d.r., was given time served (10 days) in segregation,

        and ordered released from segregation.

4.      Defendant Wildermuth held plaintiff in seg illegally for several weeks until finally

        issuing her false administrative segregation report on October 30, 2015. [attachment F].

5.      Defendant Wildermuth did use the language “malicious and maladaptive behavior,”

        which is synonymous with “consistent bad behavior” not Other Security Risk. Per legal

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      definition under IMPP 20-104, Other Security Risk requires a single act that is so bad that

      it represents “a threat to the safety and security of the facility,” whereas, Consistent Bad

      Behavior is defined as “three d.r.s in a 12-month period that constitute a threat to the

      safety and security of the facility.”

6.    Defendant Wildermuth did reference plaintiff’s twenty-six d.r.s over 18 years, which is

      not a legal reason for O.S.R. status under Kansas law.

7.    The change in status was based on defendant Wildermuth’s false assertions that plaintiff

      had been placed in administrative segregation several times previously. As EAI Gift’s

      affidavit states, defendant Wildermuth lied about plaintiff being placed in seg in 1999,

      2005, 2007, 2013, and 2018. [doc.76, exh. 2]. Exhibit 1 of document 76 further proves

      that the false disciplinary actions alleged on those dates in Wildermuth’s false A.S.R.

      never occurred either.

8.    The process for challenging classification issues is indeed form-9s to the unit team and

      warden [IMPP 11-106], which plaintiff did. (attachments C, D, E).

9.    There is apparently no limit to the number of LCF employees who are willing to lie about

      matters related to this case. Plaintiff absolutely submitted timely appeals to Defendant

      Wildermuth (attachment G) and the Warden (attachment C, #1, #2, & #4). Inmates are

      powerless to force staff members to return form-9s and keeping signed receipts from the

      form-9s we submit is our only evidence of proper submission.

10.   Defense counsel improperly uses the word “instead,” because plaintiff filed a grievance

      against defendants Lucht and Wildermuth, in addition to the form-9 appeals of the illegal

      classification, for the abuse of process these two defendants were executing. Not only

      were these defendants illegally classifying plaintiff O.S.R., they were doing it purposely



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      with the intent to violate his civil rights, which is most definitely grievance material.

      Plaintiff was required to exhaust his civil rights claims via grievance process, which he

      did, as admitted by defense counsel.

11.   Defendant Wildermuth did try to undermine the civil rights violation grievance but

      plaintiff exhausted it anyways.

12.   The warden did follow in defendant Wildermuth’s steps with the erroneous response to

      plaintiff’s civil rights grievance, but plaintiff exhausted it anyways.

13.   The Secretary of Corrections’ office also gave an erroneous response to plaintiff’s civil

      rights grievance, but the process was properly exhausted, just like the classification issue

      was properly exhausted via form-9s.

14.   Plaintiff’s Us Weekly magazine was improperly seized by defendants because of an ad

      that listed a drink recipe, which is not a lawful basis for censorship and shows that their

      actions were arbitrary.

15.   Again, plaintiff’s January 2016 issue of Wired magazine was improperly seized based on

      a false assertion that the magazine had an article on DIY weapons. A review of this issue

      revealed that no such article existed and the article about military weapons was not a

      basis for censorship.

16.   Plaintiff’s April 2016 issue of Wired magazine was impropery seized, but this time they

      didn’t even bother listing a reason for the censorship. A review of the magazine found

      no reason for censorship.

17.   Defendants did seize a photograph of a woman in a bikini sent from Pulchritudinous

      Assets, which is not a lawful basis for censorship. The photo contained no nudity, and




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      like all of the arbitrary censorships during that time was done in retaliation for the

      complaints and grievances plaintiff was filing.

18.   Defendants did seize plaintiff’s David Baldacci book, The Target, in May 2016. The day

      after receiving the seizure notice, plaintiff sent a form-9 request to the prison library

      asking to check out that title and received the book two days later. The book is still in the

      facility’s library and contained not a single line of content that this court would ever find

      objectionable or subject to censorship.

                               Plaintiff’s Uncontroverted Facts

19.   In 2014, while housed in D-Cellhouse, plaintiff assisted inmate Del Ludlum in fighting

      KDOC’s illegal classification of him as a sex offender. Defendant Wildermuth was the

      unit team manager of D-Cellhouse and became very angry and hostile towards plaintiff

      and Mr. Ludlum over the issue. In 2015, the Leavenworth District Court ruled in Mr.

      Ludlum’s favor.

20.   In 2014, plaintiff’s cell was targeted for a search and officers claimed to have found a

      small amount of tobacco and drugs in the cell. Plaintiff was convicted of the disciplinary

      report but defendants Lucht and Wildermuth pressed to have plaintiff prosecuted for the

      alleged contraband. In 2015, right before defendants executed their illegal OSR

      classification, the Leavenworth District Attorney realized that something was amiss with

      the allegations made by defendant Lucht and dismissed the bogus prosecution.

21.   Also in 2014, plaintiff was assisting inmate Michael Cote with his lawsuit against a nurse

      and he healthcare provider for giving him the wrong medication and almost killing him.

      Defendant Lucht’s fiancée was the head of nursing at LCF at the time. It was during this

      time that defendants sent officers to search plaintiff’s cell as referenced in paragraph 20



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      above. Defendant Wildermuth used that disciplinary action to ban plaintiff from going to

      the clinic to assist Mr. Cote. Plaintiff continued assisting him and a few weeks later, LCF

      staff loaded Mr. Cote into a van and shipped him off to New Mexico to stop his lawsuit.

22.   Plaintiff had a civil suit against LCF and its staff members for exposure to asbestos and

      lead paint since 2012. In June 2015, the Kansas Court of Appeals remanded plaintiff’s

      case for trial and within two months defendants executed their plan to illegally classify

      plaintiff as OSR and sent him to long-term segregation.

23.   KDOC policy strictly limits the authority of KDOC staff to place inmates in long-term

      segregation, IMPP 20-104. The only two sections applicable to Plaintiff’s case are the

      ones dealing with Consistent Bad Behavior and Other Security Risk.

24.   Other Security Risk classification can only be done by the warden and requires a finding

      that the “resident or residents have engaged in behavior which has threatened the

      maintenance, security, or control of the correctional facility.” Neither, defendant

      Wildermuth, Lucht, nor Winklebauer, were the warden at the time. Moreover, defendant

      Wildermuth’s administrative segregation report (ASR) never states that plaintiff engaged

      in any behavior that threatened the maintenance, security or control of the correctional

      facility.

25.   The consistent bad behavior section would be more in line with what Wildermuth was

      trying to assert with her hyperbole, “malicious and maladaptive behavior,” and reference

      to plaintiff’s 25 disciplinary actions over a two decade period. She refused to cite to this

      subsection because it requires three separate disciplinary actions in the previous twelve

      months and each of those actions must constitute “a substantial threat to the safety and

      security of the institution or facility,” which she could not establish.



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26.   Wildermuth entered a lot of false information into the ASR. [doc. 76, exh. A]. She

      asserted that she only took the information off of EAI’s database, but she was told by

      plaintiff that the information was false and she proceeded with it anyways. [see:

      attachment G].

27.   Defendant Lucht assisted Defendant Wildermuth in this illegal classification and was the

      head EAI officer at Lansing during the time all of the false information was entered into

      the database regarding plaintiff. All of the false information was entered by Mr. Lucht or       Commented [U1]:
                                                                                                       IMPP 20-104
                                                                                                    A. Consistent bad behavior:
      with his knowledge. With a certainty, discovery will tell the court, and plaintiff, exactly   1. Any resident may be placed in administrative restrictive
                                                                                                    housing indefinitely when the
      who entered all of the false information about plaintiff into the database.                   resident's record has shown consistent bad behavior, as
                                                                                                    evidenced by three (3) single
                                                                                                    events of documented bad behavior within the preceding 12
28.   On May 12, 2022, EAI Agent James Gift issued an affidavit confirming that a lot of the        months, and when:
                                                                                                    a. The instances are a substantial threat to the safety and
                                                                                                    security of the institution or
      information in defendant Wildermuth‘s ASR was false. [doc. 76, exh. A]. Although Mr.          facility; and
                                                                                                    b. The instances arise from separate fact situations.
      Gift took pains to try to downplay these blatant lies, the fact is, defendants Wildermuth     2. Placement under this classification requires the prior
                                                                                                    written approval of the warden and is
                                                                                                    to be within 30 days of approval by the Long-Term
      and Lucht knowingly perjured themselves in an official document.                              Restrictive Housing Committee.

                                                                                                    B. Other security risk:
29.   Between 1997 and 2016, Plaintiff only received 24 disciplinary reports. Each entry on the     1. The Warden may place in administrative restrictive
                                                                                                    housing, or secure confinement in the
      KASPER printout with the same date is but a single d.r.                                       resident’s own cell, any resident or group of residents, if the
                                                                                                    resident or residents have
                                                                                                    engaged in behavior which has threatened the maintenance,
30.   Plaintiff was not d in segregation or disciplined in 1999 for relationship with staff.        security, or control of the
                                                                                                    correctional facility.
                                                                                                    a. The Warden is to, within three (3) working days of the
      [doc.76, exh. 1].                                                                             placement, explain in writing the threat to security and show
                                                                                                    justification for effecting secure confinement
31.   Plaintiff was not placed in segregation on 11-2-2005, nor was there ever a disciplinary       under these circumstances to the Deputy Secretary of
                                                                                                    Facility Management.
                                                                                                    (1) An exception to the extended planning and services
      action of any sort, especially one related to inmate McGoldrick to look up books. [doc.       required under long-
                                                                                                    term restrictive housing placements may be requested with
                                                                                                    supporting
      76, exh. 1]. EAI Gift should have stated this.                                                written justification by the Warden.
                                                                                                    (2) A copy of this explanation and justification shall be
32.   Plaintiff was not place in segregation on 9-21-2007, nor was there ever a disciplinary        provided to the
                                                                                                    Secretary of Corrections.

      action regarding a debt sheet for Morris and McKay. [doc. 76, exh. 1]. EAI Gift should

      have stated this.                                                                             Commented [U2R1]:
                                                                                                    Commented [U3R1]:


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33.   Plaintiff was not place in Segregation on 7-31-2013, nor was there ever a disciplinary

      action regarding his allegedly doing legal work for some unidentified KDOC employee.

      [doc. 76, exh. 1].EAI Gift should have stated this.

34.   Plaintiff was not placed in segregation on 8-12-2012, nor was there ever a disciplinary

      action regarding any contraband found in the law library. [doc. 76, exh. 1]. EAI Gift

      should have stated this.

35.   Plaintiff was never issued any disciplinary action for the alleged “confidential informant”

      reporting that he was passing out contraband in the library and Plaintiff was not working

      in the library at that time. [doc. 76, exh. 1]. EAI Gift should have stated this.

36.   On September 23, 2015, after a small knot of tobacco and two broken syringes were

      found in Plaintiff’s cell, Captain Ayala told him he was not going to be place in

      segregation and she sent him to the recreation yard. A short time later she returned to get

      him and take him to segregation at the request of defendants Lucht and Wildermuth. The

      captain is the person in charge of deciding who gets placed in prehearing segregation

      because that is a security determination. The discovery process will reveal that inmates

      found in possession of tobacco or broken syringes at the Lansing Correctional Facility

      have not been placed in prehearing detention and defendants Lucht and Wildermuth

      exceeded their authority in placing Plaintiff in prehearing segregation and they did it so

      they could have complete control over him for the purpose of creating the false report and

      illegally classifying him for long-term segregation.

37.   Defendants Lucht and Wildermuth lied about all of the segregation placements, and their

      related rule infractions, because that is the only way they could try and establish that he

      posed a substantial threat to the safety and security of the facility.



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38.     Plaintiff’s family looked up the January 6, 2016 issue of Wired magazine and found no

        censorable material in the magazine.

39.     Plaintiff’s family looked up the April 2016 issue of Wired magazine and found no

        censorable material in the magazine.

40.     Inmates receive thousands of pictures of women in sexy bikinis every year and they are

        not censored and Pulchritudinous Assets specializes in photographs that do not violate

        prison censorship rules. The photo that was seized was not censorable and was seized in

        retaliation.

41.     On May 25, 2015, a day after prison officials seized Plaintiff’s David Baldacci book, The

        Target, Plaintiff requested the same title from the prison library and received it two days

        later. There was absolutely nothing in the book that was censorable.

42.     The Court can review these publications online, and the book at any library, and make

        these determinations for itself. Either the censorship process is arbitrary or the seizures

        were done in retaliation, both of which are unconstitutional and require a jury’s

        determination.

                                       Memorandum of Law


        The first legal precedent that all courts should begin every ruling with are the ones that

hold “our legal system strongly prefers to decide cases on the merits.” Lee v. Max Int’l, LLC,

638 F.3d 1318, 1321 (10th Cir. 2011). “The judicial system should offer inexpensive and speedy

justice to the citizens of this state and give a liberal construction to the statutes in order to insure

that cases are decided on their merits and not to deny a party his or her day in court if the other

party to the litigation has not been prejudiced. It eliminates a trap that attorneys and the ever

increasing number of pro se litigants frequently fall into, costing litigants their day in court on

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the merits of the case.” Honeycutt by and through Phillips v. City of Wichita, 251 Kan. 451, 461

(1992). The State of Kansas employs dozens of attorneys, paralegals and secretaries, using

millions of dollars of taxpayer funds (including Plaintiff’s taxes), to fight this legal battle against

Plaintiff, while Plaintiff has no help and very limited resources. Then, to add insult to injury,

what was once a check against executive branch overreaching, the Judiciary, takes every

opportunity to undermine the legitimate cases filed by pro se prisoners by granting bogus

motions to dismiss and summary judgment.


       "Pro se . . . pleadings are to be construed liberally and held to a less stringent standard

than formal pleadings drafted by lawyers." Garrett v. Selby Connor Maddux & Janer, 425 F.3d

836, 840 (10th Cir. 2005) (quoting Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991)).

Summary judgment is appropriate when the Court, viewing the record in the light most favorable

to the nonmoving party, determines "that there is no genuine dispute as to any material fact and

the movant is entitled to judgment as a matter of law." Fed. R. Civ. P. 56(a); see also Garrison v.

Gambro, Inc., 428 F.3d 933, 935 (10th Cir. 2005). A fact is "material" if it could influence the

determination of the suit. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct. 2505,

91 L. Ed. 2d 202 (1986). A dispute over a material fact is "genuine" if a reasonable trier of fact

could return a verdict for either party. The moving party bears the initial responsibility of

"show[ing] that there is an absence of evidence to support the nonmoving party's case." Bacchus

Indus., Inc. v. Arvin Indus., Inc., 939 F.2d 887, 891 (10th Cir. 1991) (quoting Celotex Corp. v.

Catrett, 477 U.S. 317, 325, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986)). “In ruling on a motion for

summary judgment, the nonmoving party's evidence "is to be believed, and all justifiable infer-

ences are to be drawn in [that party's] favor." Anderson, supra, at 255. Hunt v. Cromartie, 526

U.S. 541, 552 (1999).

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       At this point, the Court should be utterly disgusted with defense counsel for filing a

motion for summary judgment when they were forced to attach the affidavit of EAI Gift that

readily admitted that defendants Lucht and Wildermuth lied on the administrative segregation

report to place Plaintiff into long-term seg illegally. That affidavit alone prevents summary

judgment in their favor and actually mandates that the Court grant summary judgment in favor of

Plaintiff sua sponte. (see: Holmes v. Utah, Dept. of Workforce Services, 483 F.3d 1057, 1066-67

(10th Cir. 2007)). Defendants lied purposely and knowingly. They cannot aver that they

accidentally lied because Plaintiff told them that half of the information was false and they

proceeded with it anyways. [attachment G].

A.     Plaintiff did exhaust his administrative remedies by filing the form-9 with unit team


Wildermuth [attachment D & G], and Warden Pryor [attachment E & C1, C2, C4]. This is all

that is required under IMPP 11-106, which states:


               “Within 72 hours after receiving a custody classification decision,
               the offender may appeal the decision to the Warden by submitting
               the appeal through the Unit Team Counselor on a Form-9. a. If the
               Warden did not participate in the custody classification decision, the
               Warden must review the decision and the offender’s written appeal
               and return a written response to the offender within 15 working days
               of receipt. b. If the Warden was a participant in the custody classification
               decision, the offender’s appeal must be forwarded to the Deputy Secretary
               of Facilities Management or designee for review, who must return a written
               response to the offender within 15 working days of receipt. c. The decision
               of the Warden or Deputy Secretary or designee is final.” [§III,B,3].

Plaintiff submitted his form-9s in a timely fashion and the claims were exhausted. The additional

grievance procedure taken by Plaintiff was not about the classification specifically, but was

about the defendants abusing their powers and not following the law as outlined in statute,

regulation, and policy. Plaintiff covered every base to prevent the very actions being put forth by

defense counsel now, trying to evade justice via some procedural defect.

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B.     Plaintiff’s was engaged in constitutionally protected activities. Contrary to defense

counsel’s assertion, prisoners do possess a constitutionally protected right to assist other inmates

with their legal issues. Johnson v. Avery, 393 US 483 (1968). The Supreme Court’s ruling in

Shaw v. Murphy, 532 US 223 (2001) reaffirmed the constitutional right but merely held that it

was also subject to the Turner v. Safley, 482 US 78 (1978) exception for legitimate penological

interest. Brooks v. Colorado Dept. of Corrections, 762 Fed.Appx. 551 (10th Cir. 2019) is clearly

bad law and a misinterpretation of Supreme Court precedent. Prisoners assisting prisoners has

always been, and always will be, protected First Amendment activity. Plaintiff was not being

denied the right to help inmates Ludlum and Cote. In fact, he had the facility’s blessing in

assisting these inmates access the courts and, therefore, was engaged in constitutionally protected

conduct when defendants Wildermuth and Lucht decided to retaliate against him. Wildermuth

and Luchts’ girlfriend (Nurse Gift), were respondents in Ludlum’s and Cote’s cases, which more

than makes out a case or retaliation.


               Plaintiff also was actively prosecuting his asbestos case that had just been

remanded by the Kansas Court of Appeals (Sperry v. McKune, No. 112,455) 90 days, not 4

months, before the illegal classification. Moreover, defendant Lucht had pressed the

Leavenworth District Attorney to file charges against Plaintiff (State v. Sperry, 15-CR-xxx) in

May or June of 2015, and those charges were dismissed by the D.A. just a few days before the

illegal classification in September 2015. The absurdity of defense counsel’s argument constitutes

direct disrespect, not only towards Plaintiff, but towards this Court. Plaintiff reiterates, “In ruling

on a motion for summary judgment, the nonmoving party's evidence "is to be believed, and all

justifiable inferences are to be drawn in [that party's] favor." Anderson, supra, at 255. Hunt v.

Cromartie, 526 U.S. 541, 552 (1999). The clear inference from the evidence before this court is

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that these defendants retaliated against Plaintiff for his litigation actions that directly involved

them or their girlfriend.


C.      Defense counsel makes a further erroneous assertion when he states that Plaintiff could

have been placed into administrative segregation without the false statements created and entered

by defendants. This is clearly wrong as Kansas law strictly regulates who may be placed into

long-term segregation and by whom. [IMPP 20-104]. Under this IMPP, the following provisions

clearly illustrate these limits:


                Policy
                The inability to isolate disruptive, violent and/or residents capable of
                influencing violence and disruption in a prison environment com-
                promises the safety of both residents and staff. Administrative
                restrictive housing procedures are to be established for the control of
                residents necessary for purposes other than punishment. Residents
                are to be housed in the general population at the lowest appropriate
                custody level unless circumstances or resident behavior dictate
                other-wise. Only residents who require restrictive housing are to be
                assigned there. Procedures are to be effectively related to the control
                of the resident for stated purposes. These procedures may be
                increased in scope and extent as necessary to maintain effective
                control. When the need to isolate a resident in restrictive housing no
                longer exists, the resident is to be returned to the general population.

                Long-Term Administrative Restrictive Housing: Restrictive
                housing placement for 15 or more continuous days which requires
                comprehensive and individualized planning and services to aid in
                the return of the resident into the general population setting.

              IV. Guidelines for Use of Long-Term Restrictive Housing
                A. In the event that a resident presents an extended security threat
              due to violent and/or disruptive behaviors, or the influence of such,
              the Restrictive Housing Review Board is to complete and submit a
              long-term restrictive housing referral to the Warden for review and
              approval.
                B. Restrictive housing placement in excess of 15 days requires
              extended planning and services for eventual placement into a general
              population setting.
                1. Residents on long-term restrictive housing status are to have the

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              same housing standards, conditions of confinement for short-term
              restrictive housing, and opportunities for three (3) hours or more a
              day out of cell time.
                2. Facility General Orders are to specify the process for
              development of the planning and services specific for each individual
              resident.
              V. Classification Categories and Independent Criteria for
              Placement in Long-Term Administrative
              Restrictive Housing
                A. Consistent bad behavior:
                1. Any resident may be placed in administrative restrictive housing
              indefinitely when the resident's record has shown consistent bad
              behavior, as evidenced by three (3) single events of documented bad
              behavior within the preceding 12 months, and when:
                a. The instances are a substantial threat to the safety and security of
              the institution or facility; and
                b. The instances arise from separate fact situations.
                2. Placement under this classification requires the prior written
              approval of the warden and is to be within 30 days of approval by the
              Long-Term Restrictive Housing Committee.
                B. Other security risk:
                1. The Warden may place in administrative restrictive housing, or
              secure confinement in the resident’s own cell, any resident or group
              of residents, if the resident or residents have engaged in behavior
              which has threatened the maintenance, security, or control of the
              correctional facility.
                a. The Warden is to, within three (3) working days of the placement,
              explain in writing the threat to security and show justification for
              effecting secure confinement under these circumstances to the Deputy
              Secretary of Facility Management.
              (1) An exception to the extended planning and services required under
              long-term restrictive housing placements may be requested with
              supporting written justification by the Warden.
              (2) A copy of this explanation and justification shall be provided to
              the Secretary of Corrections.

This regulation makes it clear that long-term segregation is to be used only when the inmate

presents a threat of violence or can create the threat of violence to residents or staff. It further

requires, under “consistent bad behavior,” that the inmate had “three (3) single events of

documented bad behavior within the preceding 12 months, and when the instances are a

substantial threat to the safety and security of the institution or facility; and the instances arise



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from separate fact situations. This fails because between September 23, 2014 and September 23,

2015, Plaintiff only received two disciplinary reports for non-weapons contraband (tobacco and

cellphone), which do not constitute violence in any way.

       To make the placement under Other Security Risk, there has to be a finding that Plaintiff

acted with violence, or had the influence of violence, which has never been asserted. In fact, in

27 years of incarceration, Plaintiff has never been issued a disciplinary report for acts of

violence, weapons, not even disrespect. More importantly, the only person who could move to

classify Plaintiff as OSR, is the Warden himself. [IMPP20-104(V)(B)]. This classification and

placement was not done by the warden and nowhere did he ”explain in writing the threat to

security and show justification for effecting secure confinement under these circumstances,” as

required by law.

       “As a general rule an administrative agency may not violate or ignore its own rules, and

where it fails to follow the rules which it has promulgated, its orders are unlawful.” Murphy v.

Nelson, 260 Kan. 589, 595 (1996) citing Kansas Commission on Civil Rights v. City of Topeka

Street Dept., 212 Kan. 398, 401 (1973). Clearly, under Kansas law, Plaintiff did not qualify for

classification to long-term segregation. Plaintiff cited the rule, chapter and verse to defendant

Wildermuth and Warden Pryor, and informed them that half of the information contained in the

Administrative Segregation Report was false. They cannot argue they didn’t know or that it was

an accident.

D.     Throughout his absurd and erroneous argument, the one thing that defense counsel never

does is repudiate that defendants lied in the ASR, and that they did so knowingly. Where the

evidence establishes that the moving party “made a false statement of fact, the district court erred

in granting summary judgment.” Yazdianpour v. Safeblood Techs., Inc. 779 F.3d 530, 537 (8th



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Cir. 2015); S.E.C. v. Jorissen, 470 F.Supp.2d 764, 774 (E.D.Mich. 2007)(a jury could find that a

statement that the deal was “done” is unreasonable because terms such as the interest rate had not

yet been finalized, and that making a false statement is inherently unreasonable. Because this

dispute as to the reasonableness of Shiffman’s actions exists, summary judgment on this issue

must be denied). With EAI Gift’s affidavit appended to defendant’s motion, Plainitiff’s affidavit

and documents appended to this response, and the rest of the file evidence, the court has no other

option than to deny summary judgment, schedule discovery, and prepare for this matter to go to

trial on this issue.

II.     Defendants Lee, Shipman, Booth and Sapien are not entitled to summary judgment.

        Defendants censored and seized magazines, books and photographs that did not meet any

sort of standard of nudity or threat to the facility. The courts have long held that the government

may not engage in arbitrary censorship based on the unfettered discretion of random people.

Brown v. Glines, 444 U.S. 348 (1980)(Time and again, the Court has underscored the principle

that restraints upon communication must be hedged about by procedures that guarantee against

infringement of protected expression and that eliminate the play of discretion that epitomizes

arbitrary censorship.) citing Southeastern Promotions, Ltd. v. Conrad, supra, at 558-562; Blount

v. Rizzi, 400 U.S. 410, 416-417 (1971); Carroll v. President & Comm'rs of Princess Anne, 393

U.S. 175, 181 (1968); Freedman v. Maryland, 380 U.S. 51 (1965); Bantam Books, Inc. v.

Sullivan, supra, at 70-71; cf. Schneider v. New Jersey, 308 U.S. 147 (1939).

        The Supreme Court’s holding in Procunier v. Martinez, 416 US 396 (1976), that prison

regulations can render prison staff actions arbitrary and capricious when there are dozens of

different staff members who get to independently decide what should be censored in their

personal opinion, is still good law and controls here. True enough, the Turner v. Safley, 482 US



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78 (1987) standard must be applied to censorship issues [Thornburgh v. Abbott, 490 US 401

(1989)], but arbitrary and capricious government actions cannot be sustained as a legitimate

penological interest.

        The absurdity of defense counsel’s argument is easily illustrated. He asserts that it was

okay for defendants to censor and seize a book that Plaintiff purchased when the prison library

held, and still holds, this book on its shelves for inmates to check out and read (The Target, by

David Baldacci). He also claims that a prison staff member has the unfettered right to censor and

seize a magazine simply because it contains advertisements from a liquor company, when

hundreds of magazines with such advertisements are permitted into the institution every week to

every other inmate. He further argues that it was okay to censor and seize a photograph of a

woman in a bikini, which is well within the regulations permitted photograph standards as it does

not contain nudity. (see: K.A.R. 44-12-313). More importantly, there are literally tens of

thousands of photographs in all KDOC facilities of women in bikinis that were permitted and

authorized by mailroom personnel.

        Defendants’ actions in censoring the one I ordered cannot be based on anything but

arbitrariness and capriciousness or in retaliation for Plaintiff filing grievances and suing their

coworkers. That is something to be determined after discovery has been completed and the

defendants answer their interrogatories. At this point in the litigation, it is clear that the

censorship and seizures were unreasonable and arbitrary which prohibits the grant of summary

judgment in defendants’ favor.

        Plaintiff has refuted that the censorships in question were reasonable and constitutional. It

is a question for a jury to decide, not the court. “[I]f there is such a dispute, the factual

questions [**40] must be resolved by the factfinder, see, e.g., Kerman II, 261 F.3d at 241;



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